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  1   Brian Brazier, Esq. (SBN: 245004)
      Price Law Group, APC
  2   8245 N 85th Way
      Scottsdale, AZ 85258
  3   Tel: (818) 600-5564
      brian@pricelawgroup.com
  4   Attorneys for Plaintiff,
      Michele Ammons
  5
  6
                           UNITED STATES DISTRICT COURT
  7                       CENTRAL DISTRICT OF CALIFORNIA
  8
                                                 Case No. 2:18-cv-6489
  9
      MICHELE AMMONS,                            COMPLAINT AND DEMAND FOR
 10                                              JURY TRIAL FOR VIOLATIONS
                   Plaintiff,                    OF:
 11
            v.                                   1. Telephone Consumer Protection Act,
 12                                                 47 U.S.C. § 227 et seq.;
                                                 2. Fair Debt Collection Practices Act,
 13   DIVERSIFIED ADJUSTMENT                        15 U.S.C. § 1692 et seq.;
      SERVICE, INC.,                             3. CAL. CIV. CODE § 1788 et seq.; and
 14                                              4. Intrusion Upon Seclusion
                  Defendant.
 15
 16
 17                 COMPLAINT AND DEMAND FOR JURY TRIAL
 18         Plaintiff Michele Ammons (“Plaintiff”), by and through her attorneys, alleges
 19   the   following   against   Defendant     Diversified    Adjustment       Service,    Inc.
 20   (“Defendant”):
 21                                   INTRODUCTION
 22   1.    Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
 23   Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that
 24   broadly regulates the use of automated telephone equipment. Among other things,
 25   the TCPA prohibits certain unsolicited marketing calls, restricts the use of automatic
 26   dialers or prerecorded messages, and delegates rulemaking authority to the Federal
 27   Communications Commission (“FCC”).
 28   2.    Count II of Plaintiff’s Complaint is based upon Fair Debt Collection Practices

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  1   Act (“FDCPA”), 15 U.S.C. § 1692 et seq., which prohibits debt collectors from
  2   engaging in abusive, deceptive, and unfair practices in connection with the
  3   collection of consumer debts.
  4   3.      Count III of Plaintiff’s Complaint is based upon Rosenthal Fair Debt
  5   Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788 et seq., which
  6   prohibits debt collectors from engaging in abusive, deceptive and unfair practices in
  7   connection with the collection of consumer debts.
  8   4.      Count IV of Plaintiff’s Complaint is based upon the Invasion of Privacy -
  9   Intrusion upon Seclusion, as derived from § 652B of the Restatement (Second) of
 10   Torts. § 652B prohibits an intentional intrusion, “physically or otherwise, upon the
 11   solitude or seclusion of another or his private affairs or concerns… that would be
 12   highly offensive to a reasonable person.”
 13                             JURISDICTION AND VENUE
 14   5.      Jurisdiction of this court arises under 47 U.S.C. § 227 et seq. and 28 U.S.C.
 15   1331.
 16   6.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part
 17   of the events or omissions giving rise to the claim occurred in this District. Because
 18   Defendant transacts business here, personal jurisdiction is established.
 19                                         PARTIES
 20   7.      Plaintiff is a natural person residing in the Bakersfield, Kern County,
 21   California.
 22   8.      Defendant is a debt collector with its principal place of business located at
 23   600 Coon Rapids Blvd., Minneapolis, Minnesota 55433 and can be served through
 24   its registered agent at CT Corporation System, Inc., 1010 Dale St. N., St. Paul, MN
 25   55117-5603.
 26   9.      Defendant’s principal purpose is the collection of debts and regularly collects
 27   or attempts to collect debts owed, or due, or asserted to be owed or due by another.
 28   Defendant regularly uses the telephone and mail to engage in the business of

                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   collecting debt in several states, including California. Thus, Defendant is a “debt
  2   collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).
  3   10.     Defendant acted through its agents, employees, officers, members, directors,
  4   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives,
  5   and insurers.
  6                               FACTUAL ALLEGATIONS
  7   11.     In or around February 2018, in an attempt to collect on an alleged consumer
  8   account, Defendant began calling Plaintiff on her cellular phone number ending in
  9   3436.
 10   12.     Upon information and belief, in an attempt to hide its true identity and to trick
 11   Plaintiff into answering its phone calls, Defendant called Plaintiff from what appear
 12   to have been spoofed phone numbers: (661) 454-0526; (661) 454-0643; (661) 454-
 13   0745; (661) 454-5515; (661) 454-5516.
 14   13.     On or about February 26, 2018, at 5:54 p.m., Plaintiff received a call on her
 15   cell phone from (661) 454-5516. During this conversation, Plaintiff spoke with a
 16   representative who was attempting to collect a debt; during the call, Plaintiff
 17   unequivocally revoked consent to be contacted any further.
 18   14.     Despite revoking consent Plaintiff continued to receive phone calls from
 19   Defendant.
 20   15.     On or about March 12, 2018, at 10:03 a.m., Plaintiff received a call on her cell
 21   phone from (661) 454-5979. During this call Defendant attempted to collect a debt
 22   from Plaintiff. Plaintiff informed the representative that she was going through a
 23   financial hardship and once again unequivocally requested not to be contacted on
 24   her cell phone any further.
 25   16.     Despite Plaintiff’s pleas, Defendant continued to call Plaintiff on her cell
 26   phone without consent.
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  1   17.   Between February 26, 2018 and May 3, 2018, Defendant willfully called
  2   Plaintiff on her cellular phone approximately seventy (70) times to annoy and harass
  3   Plaintiff in the hopes that it could induce Plaintiff to pay the debt.
  4   18.   Defendant called Plaintiff up to five (5) times a day.
  5   19.    For example, on April 19, 2018, Defendant called at 9:14 a.m., 9:59 a.m.,
  6   1:45 p.m., 3:26 p.m., and 5:44 p.m.
  7   20.   Each time Plaintiff received a phone call from Defendant there was a brief
  8   pause prior to speaking with a representative, indicating the use of an automatic
  9   telephone dialing system.
 10   21.   On many occasions, Defendant also left pre-recorded or artificial voice
 11   messages for Plaintiff.
 12   22.   The majority of the calls that Plaintiff received were during working hours,
 13   which often led to interruptions in her workday.
 14   23.   Plaintiff works in a warehouse which requires her full attention throughout
 15   her workday.
 16   24.   Unfortunately, due to the constant calls from Defendant, Plaintiff would often
 17   have to stop focusing on her job to see who was calling, which can be a safety hazard.
 18   25.   Plaintiff has been struggling financially and has been working hard to stay on
 19   top of her financial obligations.
 20   26.   However, Plaintiff’s husband lost his job a couple of years ago and Plaintiff
 21   has been the only income her in household since then.
 22   27.   Plaintiff is under an immense amount of stress and Defendant’s calls have
 23   only exacerbated her stress.
 24   28.   Due to Defendant’s actions, Plaintiff has suffered emotional distress, invasion
 25   of privacy, and actual damages.
 26   29.   Plaintiff attempted to resolve this matter pre-litigation by sending a demand
 27   letter via certified mail to Defendant at its address in Minnesota.
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  1   30.   Tracking indicates that the demand letter was delivered to 600 Coon Rapids
  2   Blvd., Minneapolis, Minnesota 55433 on June 7, 2018.
  3   31.   Plaintiff requested that Defendant respond to the demand letter by July 6,
  4   2018, but never received a response.
  5   32.   As of the date of the filing of this Complaint, Defendant has not reached out
  6   to address the allegations raised in the Complaint.
  7                                         COUNT I
  8                       (Violations of the TCPA, 47 U.S.C. § 227)
  9   33.   Plaintiff incorporates by reference paragraphs one (1) through thirty-two (32)
 10   of this Complaint as though fully stated herein.
 11   34.   Defendant violated the TCPA. Defendant’s violations include, but are not
 12   limited to the following:
 13         a.     Within four years prior to the filing of this action, on multiple
 14         occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which
 15         states in pertinent part, “It shall be unlawful for any person within the United
 16         States . . . to make any call (other than       a call made for emergency
 17         purposes or made with the prior express consent of the called party) using any
 18         automatic telephone dialing system or an artificial or prerecorded voice — to
 19         any telephone number assigned to a . . . cellular telephone service . . . or any
 20         service for which the called party is charged for the call.
 21         b.     Within four years prior to the filing of this action, on multiple
 22         occasions, Defendant willfully and/or knowingly contacted Plaintiff using an
 23         artificial prerecorded voice or an automatic telephone dialing system and as
 24         such, Defendant knowing and/or willfully violated the TCPA.
 25   35.   The Federal Communications Commission (“FCC”) noted in its 2003 TCPA
 26   Order that a predictive dialer is “equipment that dials numbers and, when certain
 27   computer software is attached, also assists telemarketers in predicting when a sales
 28   agent will be available to take calls. The hardware, when paired with certain

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  1   software, has the capacity to store or produce numbers and dial those numbers at
  2   random, in sequential order, or from a database of numbers.” 2003 TCPA Order, 18
  3   FCC Rcd at 14091, para. 131.
  4   36.   The FCC further explained that the “principal feature of predictive dialing
  5   software is a timing function, not number storage or generation.” Id.
  6   37.   Finally, the FCC stated that “a predictive dialer falls within the meaning and
  7   statutory definition of ‘automatic telephone dialing equipment’ and the intent of
  8   Congress.” Id. at 14091-92, paras. 132-33.
  9   38.   As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled
 10   to an award of five hundred dollars ($500.00) in statutory damages, for each and
 11   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that
 12   Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an
 13   award of one thousand five hundred dollars ($1,500.00), for each and every violation
 14   pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 15   39.   Plaintiff is informed and believes such acts directed towards Plaintiff were
 16   carried out with a conscious disregard of Plaintiff’s right to be free from such
 17   behavior, such as to constitute oppression, fraud or malice pursuant to CAL. CIV.
 18   CODE § 3294, entitling Plaintiff to punitive damages in the amount appropriate to
 19   punish and set an example of Defendant.
 20                                       COUNT II
 21                         (Violations of 15 U.S.C. § 1692 et seq.)
 22   40.   Plaintiff incorporates by reference paragraphs one (1) through thirty-two (32)
 23   of this Complaint as though fully stated herein.
 24   41.   Defendant violated the FDCPA. Defendant’s violations include, but are not
 25   limited to, the following:
 26         a.     Defendant violated 15 U.S.C. § 1692d by engaging in conduct, the
 27         natural consequence of which is to harass, oppress or abuse any person in
 28         connection with the collection of the alleged debt;

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  1         b.     Defendant violated 15 U.S.C. § 1692d(5) by causing Plaintiff’s phone
  2         to ring or engaging Plaintiff in telephone conversations repeatedly; and
  3         c.     Defendant violated 15 U.S.C. § 1692f by using unfair or
  4         unconscionable means in connection with the collection of an alleged debt.
  5   42.   Defendant’s acts, as described above, were done intentionally with the
  6   purpose of coercing Plaintiff to pay the alleged debt.
  7   43.   As a result of the foregoing violations of the FDCPA, Defendant is liable to
  8   Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.
  9   44.   Plaintiff is informed and believes such acts directed towards Plaintiff were
 10   carried out with a conscious disregard of Plaintiff’s right to be free from such
 11   behavior, such as to constitute oppression, fraud or malice pursuant to CAL. CIV.
 12   CODE § 3294, entitling Plaintiff to punitive damages in the amount appropriate to
 13   punish and set an example of Defendant.
 14                                       COUNT III
 15                     (Violations of CAL. CIV. CODE § 1788 et seq.)
 16   45.   Plaintiff incorporates by reference paragraphs one (1) through thirty-two (32)
 17   of this Complaint as though fully stated herein.
 18   46.   Defendant violated the RFDCPA. Defendant’s violations include, but are not
 19   limited to, the following:
 20         d.     Defendant violated CAL. CIV. CODE § 1788.11(d) by causing a
 21         telephone to ring repeatedly or continuously to annoy the person called;
 22         e.     Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
 23         attempting to collect a consumer debt without complying with the provisions
 24         of Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code
 25         (Fair Debt Collection Practices Act).
 26                i.     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
 27                U.S.C. § 1692d by engaging in conduct, the natural consequence of
 28                which is to harass, oppress or abuse any person in connection with the

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  1                collection of the alleged debt; and
  2                ii.    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
  3                U.S.C. § 1692d(5) by causing Plaintiff’s phone to ring or engaging
  4                Plaintiff in telephone conversations repeatedly;
  5                iii.   Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
  6                U.S.C. § 1692f by using unfair or unconscionable means in connection
  7                with the collection of an alleged debt; and
  8   47.   Defendant’s acts, as described above, were done intentionally with the
  9   purpose of coercing Plaintiff to pay the alleged debt.
 10   48.   As a result of the foregoing violations of the RFDCPA, Defendant is liable to
 11   Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.
 12   49.   Plaintiff is informed and believes such acts directed towards Plaintiff were
 13   carried out with a conscious disregard of Plaintiff’s right to be free from such
 14   behavior, such as to constitute oppression, fraud or malice pursuant to CAL. CIV.
 15   CODE § 3294, entitling Plaintiff to punitive damages in the amount appropriate to
 16   punish and set an example of Defendant.
 17                                       COUNT IV
 18                               (Intrusion Upon Seclusion)
 19   50.   Plaintiff incorporates by reference paragraphs one (1) thirty-two (32) of this
 20   Complaint as though fully stated herein.
 21   51.   Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon
 22   seclusion as, “One who intentionally intrudes… upon the solitude or seclusion of
 23   another, or his private affairs or concerns, is subject to liability to the other for
 24   invasion of privacy, if the intrusion would be highly offensive to a reasonable
 25   person”.
 26   52.   Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are
 27   not limited to, the following:
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  1         a.     Defendant intentionally intruded, physically or otherwise, upon
  2         Plaintiff’s solitude and seclusion by engaging in harassing phone calls in an
  3         attempt to collect on an alleged debt despite numerous requests for the calls
  4         to cease.
  5         b.     The number and frequency of the telephone calls to Plaintiff by
  6         Defendant after several requests for the calls to cease constitute an intrusion
  7         on Plaintiff's privacy and solitude.
  8         c.     Defendant’s conduct would be highly offensive to a reasonable person
  9         as Plaintiff received calls that often interrupted Plaintiff’s work and sleep
 10         schedule.
 11         d.     Defendant’s acts, as described above, were done intentionally with the
 12         purpose of coercing Plaintiff to pay the alleged debt.
 13   53.   As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable
 14   to Plaintiff for actual damages.
 15   54.   Plaintiff is informed and believes such acts directed towards Plaintiff were
 16   carried out with a conscious disregard of Plaintiff’s right to be free from such
 17   behavior, such as to constitute oppression, fraud or malice pursuant to CAL. CIV.
 18   CODE § 3294, entitling Plaintiff to punitive damages in the amount appropriate to
 19   punish and set an example of Defendant.
 20                                 PRAYER OF RELIEF
 21   WHEREFORE, Plaintiff Michele Ammons, respectfully requests judgment be
 22   entered against Defendant Diversified Adjustment Service, Inc. for the following:
 23   55.   Statutory damages of $500.00 for each and every negligent violation of the
 24   TCPA pursuant to 47 U.S.C. § (b)(3)(B);
 25   56.   Statutory damages of $1500.00 for each and every knowing and/or willful
 26   violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(B) and 47 U.S.C. § (b)(3)(C);
 27   57.   Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
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   1   58.   Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices
   2   Act, 15 U.S.C. § 1692k(a)(2);
   3   59.   Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k(a)(3);
   4   60.   Statutory damages of $1,000.00 pursuant to the RFDCPA, CAL. CIV. CODE
   5   §1788.30(b);
   6   61.   Actual damages pursuant to RFDCPA, CAL. CIV. CODE §1788.30(b);
   7   62.   Costs and reasonable attorneys’ fees pursuant to the RFDCPA, CAL. CIV.
   8   CODE §1788.30(c);
   9   63.   Punitive damages pursuant to CAL. CIV. CODE § 3294.
  10   64.   Awarding Plaintiff any pre-judgment and post-judgment interest as may be
  11   allowed under the law; and
  12   65.   Any other relief that this Honorable Court deems appropriate.
  13
  14         Respectfully submitted this 27th day of July 2018.
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                                                       PRICE LAW GROUP, APC
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  17                                                   By:/s/ Brian Brazier       .
                                                       Brian Brazier, Esq. (SBN: 245004)
  18                                                   8245 N 85th Way
                                                       Scottsdale, AZ 85258
  19                                                   Tel: (818) 600-5564
                                                       brian@pricelawgroup.com
  20                                                   Attorneys for Plaintiff,
                                                       Michele Ammons
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